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                                                                                 FILED
                                                                             January 25, 2022
                      IN THE UNITED STATES DISTRICT COURT  KAREN MITCHELL
                      FOR THE NORTHERN DISTRICT OF TEXAS CLERK, U.S. DISTRICT
                                DALLAS DIVISION                COURT

UNITED STATES OF AMERICA
                                                        NO. 3:22-MJ-69-BK
v.

HENRY DWIGHT WILLIAMS

     MOTION FOR PRETRIAL DETENTION AND TO CONTINUE DETENTION
                             HEARING

        The United States moves for pre-trial detention of defendant, Henry Dwight

Williams, pursuant to 18 U.S.C. § 3142.

        1. Eligibility of Case. This case is eligible for a detention order because the case

involves (check all that apply):

                     Crime of violence (18 U.S.C. §3156);

                     Maximum sentence life imprisonment or death

                     10 + year drug offense

                     Felony, with two prior convictions in above categories

                 X   Serious risk defendant will flee

                 X    Serious risk obstruction of justice

                     Felony involving a minor victim

                 X   Felony involving a firearm, destructive device, or any other

               dangerous weapon

                     Felony involving a failure to register (18 U.S.C. § 2250)


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              2. Reason for Detention. The Court should detain defendant because there

are no conditions of release which will reasonably assure (check one or both):

                 X    Defendant’s appearance as required

                 X    Safety of any other person and the community

       3. Rebuttable Presumption. The United States will/will not invoke the rebuttable

presumption against defendant because (check one or both):

                     Probable cause to believe defendant committed 10+ year drug

                      offense or firearms offense,

                     Probable cause to believe defendant committed a federal crime of

              terrorism, 18 U.S.C. § 2332b(g)(5)

                     Probable cause to believe defendant committed an offense involving

              a minor, 18 U.S.C. §§ 1201, 2251

                     Previous conviction for “eligible” offense committed while on

              pretrial bond

       4. Time For Detention Hearing. The United States requests the Court conduct the

detention hearing,

                     At first appearance

                X After continuance of 3         days (not more than 3).




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DATED this       25th day of January, 2022.

                                            Respectfully submitted,

                                            CHAD E. MEACHAM
                                            UNITED STATES ATTORNEY


                                             /s/ Joseph A. Magliolo
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing will be served on counsel for the

defendant in accordance with the Federal Rules of Criminal Procedure on the 25th day of

January, 2022.


                                             /s/ Joseph A. Magliolo
                                            JOSEPH A. MAGLIOLO
                                            Assistant United States Attorney




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